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 1   LAW OFFICE OF JEANNIE HUA
     JEANNIE N. HUA, ESQ.
 2
     Nevada Bar No.: 005762
 3   1810 E. Sahara Ave., Suite 1408
     Las Vegas, Nevada 89104
 4   Telephone: (702) 239-5715
 5
     Facsimile: (702) 466-5949
     Email: jeanniehua@aol.com
 6   Attorney for Defendant
 7

 8
                                  UNITED STATES DISTRICT COURT

 9                                       DISTRICT OF NEVADA
10
     THE UNITED STATES OF AMERICA,             )
11                                             )                  2:12-CR-440-JAD-GWF
                                               )                  2:12-CR-452-JAD-VCF
12                     Plaintiff,              )                  (Second Request)
                                               )
13
     vs.                                       )
14                                             )
     Solomon Zemedhun,                         )
15                                             )
                       Defendant.              )
16   __________________________________________)
17
     Certification: This Stipulation and Order is being timely filed.
18

19                 STIPULATION AND ORDER TO CONTINUE SENTENCING

20          IT IS HEREBY STIPULATED by and between Robert Knief, Assistant United States
21
     Attorney, counsel for the United States of America; and Jeannie N. Hua of Law Office of
22
     Jeannie N. Hua, Incorporated, counsel for Defendant SOLOMON ZEMEDHUN, that the
23
     Sentencing date currently scheduled for Monday, February 9, 2015 at 10:00 a.m. in Courtroom
24

25   6D, be vacated and continued to a date and time convenient for this Court; however, to a date

26   after the week of March 3, 2015.
27
     ///
28




                                                      1
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 1          This Stipulation is entered into for the following reasons:
 2
             1.      That Mr. Solomon had agreed to testify on behalf of the Government in
 3
     codefendants’ trial in case 2:12-cr-00440-RCJ-GWF and 2:12-CR-452-JAD-VCF;
 4

 5
             2.      Codefendants’ trial has been continued to the week of March 3, 2015;

 6           3.      That the AUSA Robert Knief is agreeable to the continuance;
 7           4.      That denial of this request for a continuance could result in a miscarriage of
 8
                     justice;
 9
             5.      That this is the second request for a continuance of the Sentencing date in this
10

11                   case;

12           6.      That the Defendant Solomon Zemedhun is agreeable to the continuance; and
13
             7.      That this Stipulation is being filed less than ten days prior to the scheduled
14
     Sentencing date because AUSA is out of town.
15
     RESPECTFULLY SUBMITTED this 5th day of February, 2015.
16

17          Law Office of Jeannie N. Hua                        United States of Attorney

18          /s/ Jeannien N. Hua                                 /s/ Robert Knief
     By:    _________________________                      By: _______________________________
19
            JEANNIE N. HUA, ESQ.                                ROBERT KNIEF, AUSA
20          Attorney for Defendant                              Attorney for Plaintiff
            SOLOMON ZEMEDHUN
21

22

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                                                       2
           Case 2:12-cr-00452-JAD-MDC          Document 142        Filed 02/09/15      Page 3 of 4




 1                                UNITED STATES DISTRICT COURT
 2
                                         DISTRICT OF NEVADA
 3
     THE UNITED STATES OF AMERICA,             )
 4                                             )                  2:12-CR-0440-RCJ-GWF
 5
     Plaintiff,                                )                  2:12-CR-452-JAD-VCF
                                               )                  (Second Request)
 6   vs.                                       )
                                               )
 7   SOLOMON ZEMEDHUN,                         )
 8
                                               )
     Defendant.                                )
 9   __________________________________________)
10
                                         FINDINGS OF FACTS
11
            Based upon the pending Stipulation of the parties, and good cause appearing therefore,
12
     the Court finds that:
13

14
            1.      The parties have stipulated to continue the sentencing date;

15          2.      That Mr. Solomon had agreed to testify on behalf of the Government in
                    codefendants’ trial in case 2:12-cr-00440-RCJ-GWF and 2:12-CR-452-JAD-
16                  VCF;
17
            3.      Codefendants’ trial has been continued to the week of March 3, 2015;
18
            4.      That the AUSA Robert Knief is agreeable to the continuance;
19

20
            5.      That denial of this request for a continuance could result in a miscarriage of
                    justice;
21
            6.      That this is the second request for a continuance of the Sentencing date in this
22

23                  case;

24          7.      That the Defendant Solomon Zemedhun is agreeable to the continuance; and
25
            8.      That this Stipulation is being filed less than ten days prior to the scheduled
26
                    Sentencing date because AUSA is out of town.
27
     ///
28




                                                      3
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 1                                       CONCLUSIONS OF LAW
 2
                     The ends of justice served by granting said continuance outweigh the best
 3
     interests of the public and the defendant, since the failure to grant said continuance would be
 4

 5
     likely to result in a miscarriage of justice.

 6                                                    ORDER
 7           IT IS THEREFORE ORDERED that the Sentencing date in this matter currently
 8
     scheduled for February 9, 2019 at 11:00 a.m. be vacated and continued
 9
     to__________________
        Monday, March 23,at___
                          2015,__.m. in the
                                at 9:00     above-noted
                                         a.m.           Federal
                                              in Courtroom  #6D.Courthouse.
10

11         DATED this 5th
                      9th day
                          dayofofFebruary,
                                  February,2015.
                                             2015.

12
                                                       ________________________________________
13
                                                       UNITED STATES DISTRICT COURT JUDGE
14

15   Respectfully submitted by:
16

17   /s/ Jeannie N. Hua
     ________________________________________
18   LAW OFFICE OF JEANNIE N. HUA, INC.
     JEANNIE N. HUA, ESQ.
19
     Nevada Bar No.: 005672
20   1810 E. Sahara Ave., Suite 1408
     Las Vegas, Nevada 89104
21   Attorney for Defendant
     SOLOMON ZEMEDHUN
22

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